          Case 2:19-bk-17990-VZ                     Doc 2 Filed 07/09/19 Entered 07/09/19 18:05:40                                                     Desc
                                                    Main Document     Page 1 of 11

Attorney or Party Name, Address, Telephone & FAX Nos., FOR COURT USE ONLY
State Bar No. & Email Address
Sandford L. Frey 117058
200 S. Los Robles Avenue, Suite 210
Pasadena, CA 91101
626-796-4000 Fax: 626-795-6321
California State Bar Number: 117058 CA
sfrey@leechtishman.com




□    Debtor(s) appearing without an attorney
■    Attorney for Debtor

                                                    UNITED STATES BANKRUPTCY COURT
                                                     CENTRAL DISTRICT OF CALIFORNIA

 In re:
                                                                                   CASE NO. : 2:19-bk-17990
             Interworks Unlimited Inc.
                                                                                   CHAPTER: 7




                                                                                                       VE RIFICATION OF MASTER
                                                                                                      MAILING LIST OF CREDITORS

                                                                                                                    [LBR 1007-1 (a)]

                                                               De��C?r(s).

Pursuant to LBR 1007-1 (a), the Debtor, or the Debtor's attorney if applicable, certifies under penalty of perjury that the
master mailing list of creditors filed in this bankruptcy case, consisting of                       . e, correct, and
consistent with the Debtor's schedules and I/we assume all respo�'.:��::fnr"PN;nrs and omission

Date: July 9, 2019


Date:
                                                                                          Signature of Debtor 2 Uoint debtor) ) (if applicable)

Date: July 9, 2019                                                                        Isl Sandford L. Frey
                                                                                          Signature of Attorney for Debtor (if applicable)




                   This form is optional. It has been approved for use in the United States Bankruptcy Court for the Central Oistrict of California.
December 2015                                                                                       F 1007-1.MAILING.LIST.VERIFICATION
    Case 2:19-bk-17990-VZ   Doc 2 Filed 07/09/19 Entered 07/09/19 18:05:40   Desc
                            Main Document     Page 2 of 11

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                       1 WorldSync Inc
                       7887 Washington Village Drive
                       Suite 300
                       Dayton, OH 45459


                       About Time Inc
                       7220 A Bob Bullock Loop
                       Suite 3A
                       Laredo, TX 78041


                       Air Tiger Express USA Inc
                       17000 E Gale Ave
                       City of Industry, CA 91745


                       Aquavian Freight
                       520 E Jamie Avenue
                       La Habra, CA 90631


                       Arca World Logistics LLC
                       2600 E Pacific Coast Highway
                       Suite 160
                       Long Beach, CA 90804




                       Brutzkus Gubner
                       Mark D Brutzkus
                       21650 Oxnard Street Suite 500
                       Woodland Hills, CA 91367
Case 2:19-bk-17990-VZ   Doc 2 Filed 07/09/19 Entered 07/09/19 18:05:40   Desc
                        Main Document     Page 3 of 11


                   Cash Capital Group LLC
                   c o Rubin Law
                   90 Broad St Floor 16
                   New York, NY 10004


                   City of Industry
                   P O Box 3366
                   City of Industry, CA 91744


                   Cokem International
                   3880 Fouth Ave East
                   East Shakopee, MN 55379


                   Commerce Technologies Inc
                   25736 Network Place
                   Chicago, IL 60673


                   Craig Corsini
                   Lai Corsini Lapus LLC
                   5800 Ranchester Drive Suite 200
                   Houston, TX 77036


                   Debra Kwon
                   1915 Batson Ave 37
                   Rowland Heights, CA 91748


                   Employers Preferred Ins Co
                   P O Box 53089
                   Phoenix, AZ 85072


                   Eqtainment LLC
                   500 N Capital of Texas HWY
                   Bldg 4 100
                   Austin, TX 78746
Case 2:19-bk-17990-VZ   Doc 2 Filed 07/09/19 Entered 07/09/19 18:05:40   Desc
                        Main Document     Page 4 of 11


                   Eric Lu
                   944 S Pine Street
                   San Gabriel, CA 91776


                   ERS Security Alarm Systems Inc
                   4538 Santa Anita Ave
                   El Monte, CA 91731-1000


                   Esther Kim
                   8214 Garibaldi Avenue
                   San Gabriel, CA 91775


                   Esther Kim CASH
                   8214 Garibaldi Avenue
                   San Gabriel, CA 91775


                   First Insurance Funding
                   P O Box 7000
                   Carol Stream, IL 60197


                   Fortress Group LLC
                   20541 Pascal Way
                   Lake Forest, CA 92630


                   Gaijinworks
                   P O Box 493399
                   Redding, CA 96049
Case 2:19-bk-17990-VZ   Doc 2 Filed 07/09/19 Entered 07/09/19 18:05:40   Desc
                        Main Document     Page 5 of 11


                   Globaltranz Enterprises Inc
                   P O Box 203285
                   Dallas, TX 75320


                   GoGreen Power
                   4675 Rt 9 North
                   Howell, NJ 07731




                   Hangzhou Chic Intelligent Tech Co
                   Add No 6 B International Kechuang
                   Garden
                   Liangzhu Hangzhou City China


                   Harlan M Lazarus
                   Lazarus Lazarus P C
                   240 Madison Avenue 8th Floor
                   New York, NY 10016


                   Horizon Worldwide Logistics Co LD
                   Room 922 Block B International
                   Negoatiate Garden No 3
                   Jinguan North 2nd Street Nanfaxin
                   Shunyi District Bejing China 101300


                   IPFS Corporation
                   P O Box 412086
                   Kansas City, MO 64141
Case 2:19-bk-17990-VZ   Doc 2 Filed 07/09/19 Entered 07/09/19 18:05:40   Desc
                        Main Document     Page 6 of 11


                   James Andrew Hinds Jr
                   Hinds Shankman LLP
                   21257 Hawthorne Blvd Second Floor
                   Torrance, CA 90503


                   Jason Lee
                   1240 Gatlin Ave
                   Hacienda Heights, CA 91745


                   Jinhua Lvbao Vehicles
                   No 133 Lengshui Road
                   Jinpan Development Zone
                   Jinhua, Zhejiang, China


                   John D Guerrini
                   GABA Guerrini Law Corporation
                   8583 Irvine Center Drive Suite 500
                   Irvine, CA 92618


                   Joseph Chu Co Inc
                   223 E Garvey Ave 148
                   Monterey Park, CA 91755


                   Kabbage
                   730 Peachtree St NE
                   Suite 1100
                   Atlanta, GA 30308


                   Kevin D Hughes
                   Foundation Law Group LLP
                   1999 Avenue of the Stars
                   Suite 1100
                   Los Angeles, CA 90067


                   Keith D Peterson
                   Law Offices of Keith D Peterson
                   9601 Jones Rd Suite 240
                   Houston, TX 77065
Case 2:19-bk-17990-VZ   Doc 2 Filed 07/09/19 Entered 07/09/19 18:05:40   Desc
                        Main Document     Page 7 of 11


                   Kirin International Trade LTD
                   Room C 11/F 8 Hart Ave
                   Tsimshasui Kowloon, Hong Kong


                   Ling Yun USA
                   2306 Peck Road
                   City of Industry, CA 90601


                   Marisela Urbina
                   1418 E 70th Street
                   Los Angeles, CA 90601


                   Max Transport Inc
                   P O Box 8098
                   Rowland Heights, CA 91748




                   OEC Distribution Services Inc
                   2180 South Wineville
                   Ontario, CA 91761


                   OEC Logistics Inc
                   13100 Alondra Blvd Suite 100
                   Cerritos, CA 90703


                   Old Dominion Freight Line Inc
                   P O Box 742296
                   Los Angeles, CA 90074
Case 2:19-bk-17990-VZ   Doc 2 Filed 07/09/19 Entered 07/09/19 18:05:40   Desc
                        Main Document     Page 8 of 11


                   PPF Industrial Peck Center I LP
                   12016 Telegraph Road Suite 203
                   Santa Fe Springs, CA 90670


                   Priscilla Murillo
                   3368 Barnes Ave
                   Baldwin Park, CA 91706


                   Roadrunner Transportation Services
                   P O Box 809066
                   Chicago, IL 60680


                   Roger C Hsu
                   Law Offices of Roger C Hsu
                   175 South Lake Avenue Suite 210
                   Pasadena, CA 91101


                   Sakaida Bui
                   2355 Westwood Blvd #327
                   Los Angeles, CA 90064


                   Sam Fang
                   1951 East Eckerman Avenue
                   West Covina, CA 91791
Case 2:19-bk-17990-VZ   Doc 2 Filed 07/09/19 Entered 07/09/19 18:05:40   Desc
                        Main Document     Page 9 of 11


                   Shenzhen Fulein Techology Co LTD
                   A Block of Wenhao Mansion
                   Gushu Bao' Shenzhen City China




                   State of California
                   Employment Development Department
                   Bankruptcy Group MIC
                   P O Box 826880
                   Sacramento, CA 94280


                   Stefanie G Field
                   Gresham Savage Nolan & Tilden APC
                   550 E Hospitality Lane Suite 300
                   San Bernardino, CA 92408-4205


                   Steve Lu
                   860 E Hermosa Dr
                   San Gabriel, CA 91775


                   Super Happy Fun Fun
                   11044 Research Blvd
                   Austin, TX 78759


                   Tartan Sales
                   525 W Bethel Road
                   Coppell, TX 75019


                   The Law Offices of Elizabeth Yang
                   199 W Garvey Avenue Suite 201
                   Monterey Park, CA 91754
Case 2:19-bk-17990-VZ   Doc 2 Filed 07/09/19 Entered 07/09/19 18:05:40   Desc
                        Main Document    Page 10 of 11


                   TNT Marketing Inc.
                   2240 E Washington Blvd.
                   Los Angeles, CA 90021


                   Tony Tu
                   5738 Temple City Blvd.
                   Temple City, CA 91780


                   Trans Gas Propane
                   P O Box 3983
                   Glendale, CA 91221


                   Tuttle Yick
                   220 East 42nd Street
                   New York, NY 10017


                   Uniglobe Inc.
                   17238 S Main Street
                   Gardena, CA 90248


                   UNIS Transportation
                   218 Machlin Ct
                   Walnut, CA 91789


                   UPS
                   28013 Network Place
                   Chicago, IL 60673


                   Zi Hui
                   5832 Primrose Ave
                   Temple City, CA 91780
Case 2:19-bk-17990-VZ   Doc 2 Filed 07/09/19 Entered 07/09/19 18:05:40   Desc
                        Main Document    Page 11 of 11


                   Zoma Toys Co Limited
                   Add No 7 Longtengjiayuan Jinping
                   Shantou City Gaundong Province China
